                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE

  B.P., H.A., and S.H., individually, and              )
         on behalf of all other similarly              )
         situated,                                     )
                                                       )       No. 2:23-cv-00071-TRM-JEM
         Plaintiffs,                                   )
                                                       )       Judge McDonough
  v.                                                   )
                                                       )       Magistrate Judge McCook
  CITY OF JOHNSON CITY, et al.,                        )
                                                       )
         Defendants.                                   )
                                                       )


               DISTRICT ATTORNEY GENERAL STEVEN FINNEY’S
           MOTION TO QUASH SUBPOENAS AND FOR PROTECTIVE ORDER


         Undersigned counsel for District Attorney General Steven Finney, a nonparty, hereby

  enters a limited appearance for the purpose of moving the Court to quash two subpoenas served by

  Plaintiffs and to move for a protective order. Fed. R. Civ. P. 26, 45. Undersigned counsel certifies

  that she has conferred with the Plaintiffs in good faith and that they have been unable to come to

  an agreement. On April 22, 2024, counsel for Plaintiffs served a subpoena upon General Finney

  to testify in a deposition in a civil action on July 17, 2024, at 9:00 a.m. (EX. 1.) Plaintiffs also

  served a subpoena upon T-Mobile 1 for the “historical call detail records” for General Finney’s cell

  phone. (EX 2.)       Following a written objection to these subpoenas, Plaintiff’s counsel and

  undersigned counsel conferred and were unable to reach an agreement.              Pursuant to the



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    T-Mobile is the incorrect carrier for the listed phone number, which has been redacted from
  exhibit 2, attached hereto. Tenn. Code Ann. § 10-7-503(a)(1)(A)(ii), (a)(5), (f)(1)(A), (f)(2).
  Nevertheless, General Finney seeks a protective order for the call records in question should a
  subpoena re-issue to the proper carrier.


Case 2:23-cv-00071-TRM-JEM Document 202 Filed 05/31/24 Page 1 of 3 PageID #: 4185
  accompanying memorandum of law, the Court should quash the subpoenas and grant protective

  orders because the information sought is confidential, privileged, and not subject to subpoena.



                                                        Respectfully submitted,

                                                        JONATHAN SKRMETTI
                                                        Attorney General and Reporter

                                                        s/Liz Evan
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                                      2
Case 2:23-cv-00071-TRM-JEM Document 202 Filed 05/31/24 Page 2 of 3 PageID #: 4186
                                CERTIFICATE OF SERVICE

         I hereby certify that a true and exact copy of the foregoing was filed and served by

  operation of the Court’s ECF/PACER system on this the 31st day of May 2023, upon:


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                                                     s/ Liz Evan
                                                     ELIZABETH EVAN
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                                      3
Case 2:23-cv-00071-TRM-JEM Document 202 Filed 05/31/24 Page 3 of 3 PageID #: 4187
